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                                                                                 ELECTRONICALLY FILED
                       IN THE UNITED STATES DISTRICT COURT                       DOC #: ___________________
                          FOR THE DISTRICT OF NEW JERSEY                                      August 17, 2020
                                                                                 DATE FILED: _______________



IN RE: COURT OPERATIONS UNDER THE                    :
EXIGENT CIRCUMSTANCES CREATED                        :      EXTENSION OF
BY COVID-19                                          :      STANDING ORDER 2020-12



        WHEREAS, a National Emergency has been declared and the Governor of the State of
New Jersey has also declared a State of Emergency and a Public Health Emergency in response
to the coronavirus (COVID-19) pandemic; and

        WHEREAS, the Centers for Disease Control and Prevention (CDC) and other public
health authorities have advised taking precautions to reduce the possibility of exposure to
COVID-19 and to slow the spread of the disease; and

       WHEREAS, in response to government policy, CDC guidelines and public health
advancements, the United States District Court for the District of New Jersey (“Court”) has
adopted the District of New Jersey COVID-19 Recovery Guidelines (“Recovery Guidelines”),
providing for a phased approach to reconstituting operations, and is currently in Phase II; and

        WHEREAS, Phase II of the Recovery Guidelines, requiring the wearing of masks
or facial coverings, the maintenance of six feet of physical distance from others (“social
distancing”), elevator occupancy limited to one person at a time, contact tracing procedures and
the holding of all non-emergent proceedings by video and teleconference (except for grand jury
proceedings), has been extended until September 30, 2020, with the possibility of further
extension, if necessary; and

        WHEREAS, as New Jersey and other states have begun to reopen, the number of new
cases of COVID-19 has started to increase, and government officials, the CDC and other health
authorities continue to stress the need for precautions, including maintaining social distancing,
avoiding public transportation when possible, limiting nonessential travel, working from home,
avoiding large gatherings, wearing face masks or coverings in public, and 14-day quarantining
after the contraction of, or suspected exposure to, COVID-19; and

       WHEREAS, jury selection in this District frequently involves large jury venire pools,
along with many individuals required to travel extensively; and

         WHEREAS, New Jersey public school education this fall may be conducted remotely,
at least in part, with an all-remote option for parents, thereby impacting the availability of
parents summoned for jury service; and

        WHEREAS, the Court continues to monitor its operations to identify measures that
will help slow the spread of COVID-19 by minimizing contact between persons, while at
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the same time, preserving its core mission of serving the public through the fair and impartial
administration of justice;

        NOW, THEREFORE, in order to further public health and safety, the health and safety
of Court personnel, counsel, litigants, other case participants, jurors, security personnel and the
general public, and in order to reduce the number of gatherings necessarily attendant to trial jury
selection in all vicinages of this Court, and in order to minimize travel by participants in Court
proceedings (particularly travel by public conveyance), the Court finds it necessary to extend
the continuances and period of exclusion set forth in Standing Order 2020-12, due to expire
on August 31, 2020, and issues the following:

       1. The Court ORDERS that all civil and criminal jury selections and jury trials shall
be continued to September 30, 2020. The Court may issue further Orders or Extensions
concerning future general continuances of any matters as may be deemed necessary and
appropriate. All jury selections and trials impacted by this Extension will be reset by further
Order of the assigned judicial officer.

         2. Regarding criminal matters, the Court recognizes the trial, procedural and
substantive rights of criminal litigants and particularly, their right to a speedy and public trial
under the Sixth Amendment (and the particular application of that right in cases involving
defendants who are detained pending trial). However, the Court also recognizes the compelling
public health and safety issues outlined in this Extension of Standing Order 2020-12, and
therefore, pursuant to 18 U.S.C. §3161(h)(7)(A), finds that the ends of justice served by taking
such action materially outweigh the best interests of the public and the parties in a speedy trial.
Accordingly, the Court ORDERS that the time period of March 16, 2020 through September 30,
2020 shall be “excluded time” under the Speedy Trial Act. Having considered the factors
outlined in 18 U.S.C. § 3161(h)(7)(B), the Court finds specifically, that the failure to grant such
continuance would be likely to make a continuation of proceedings impossible, or result in a
miscarriage of justice. Such exclusion is necessary to assure that in cases going to trial, there is a
full, unhindered, continuously serving jury venire and seated jury in every case, which is central
to the sound administration of justice. Such exclusion of time is also necessary in cases not yet
set for trial in order to address the reasonably anticipated difficulties in defense counsel
communicating or visiting with clients (including those detained in locales and facilities under a
declared state of emergency), and the inherent delay in the scheduling of further trials as a
consequence of the exclusion period herein. The Court may by further Order or Extension
extend the period of exclusion as circumstances may warrant, and the assigned judicial officer
may, by Order, also do so in connection with any specific proceeding.

       3. As for criminal cases commenced by complaint, the Court ORDERS that the 30-day
period established by 18 U.S.C. § 3161(b), during which the United States must either obtain an
indictment or file an information, is continued through September 30, 2020. Again, recognizing
the public health and safety issues stated herein, the Court determines that the ends of justice
served by granting such a continuance outweigh the best interest of the public and each
defendant in a speedy indictment and a speedy trial in a criminal case. Accordingly, the Court
also ORDERS that the time period of March 16, 2020 through September 30, 2020 shall be
“excluded time” in all criminal proceedings in this District under the Speedy Trial Act, including
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those proceedings commenced by complaint. The Court further ORDERS that such continuance
shall also apply to any time limits established by the Interstate Agreement on Detainers,
18 U.S.C. app. 2, § 2 (art. III).

         4. Finding it necessary to also extend the restriction on the empanelment of new grand
juries, the Court ORDERS that no new grand juries shall be empaneled until the Court orders
otherwise. Sitting grand juries in each vicinage of the Court are authorized to continue to meet.

        5. The Court ORDERS that the prior continuance of Central Violations Bureau (CVB)
proceedings through August 19, 2020 is NOT EXTENDED, and that such proceedings shall be
conducted, at the discretion of the Magistrate Judge, via video and teleconference, until the Court
orders otherwise.

       6. The Court further ORDERS that except as modified herein, the provisions of
Standing Order 2020-12 remain in full force and effect, until the Court orders otherwise.

       7. The Court ORDERS that additional Orders or Extensions addressing Court
Operations under the Exigent Circumstances Created by COVID-19 shall be entered as
warranted, and that this Extension of Standing Order 2020-12 will expire no later than
September 30, 2020.


DATED: August 17, 2020                                      ____________________
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                                                            Hon.           Wolfson
                                                               n. Freda L. Wo
                                                                           W   lfson
                                                            U.S. Chief District Judge
                                                            District of New Jersey
